                                                   U.S. Department of Justice

                                                   United States Attorney
                                                   Southern District of New York

                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007


                                                   TO BE FILED UNDER SEAL

                                                   August 23, 2021

The Honorable Kevin N. Fox
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

       Re:    United States v. Sune Gaulsh, 21 Mag. 5195

Dear Judge Fox:

        On or about May 14, 2021, the above-captioned sealed Complaint and an accompanying
sealed arrest warrant were filed against defendant Sune Gaulsh. To date, the defendant is a
fugitive—indeed, he is charged with international kidnapping for taking his minor son out of the
United States in or about November 2020. Neither the defendant nor his son have returned to the
United States since then. The Government believes that the defendant and his son are located in
Denmark. The Government writes to respectfully request that this Court enter a limited unsealing
order that would permit the Government to disclose the Complaint and arrest warrant to others
within the United States government as well as to foreign officials for the limited purposes of
enabling the Government to coordinate with foreign law enforcement authorities, apprehend the
defendant, bring him to the United States, and to further the existing investigation.

                                                   Respectfully submitted,

                                                   AUDREY STRAUSS
                                                   United States Attorney

                                               By: ___________________________________
                                                   Jane Y. Chong
                                                   Assistant United States Attorney
                                                   (917) 763-3172
SO ORDERED: 8/23/21

_____________________________________
THE HONORABLE KEVIN N. FOX
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK
